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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


YUK RUNG TSANG,

                    Plaintiff,

vs.                                                    Case No. 00-CR-80541
                                                       HON. GEORGE CARAM STEEH


UNITED STATES OF AMERICA,

                    Defendant.

_____________________________/

                   ORDER DENYING DEFENDANT'S REQUEST TO
                           FILE A RESPONSE (#334)

      Defendant Yuk Rung Tsang asks to file a response to the Government's motion for

entry of a protective order restraining defendant Yuk Rung Tsang, William Anthony Digilio,

or any of their associates, friends or family members from having any contact with the

jurors, including the family members of jurors, that were involved in United States v. Yuk

Rung Tsang, 00-80541 (Steeh, J.) without prior written approval of this court. The court

granted the Government's motion, and entered the protective order, on July 5, 2007.

Accordingly, defendant's request to file a response is hereby DENIED as MOOT.

      SO ORDERED.

Dated: July 12, 2007

                                         s/George Caram Steeh
                                         GEORGE CARAM STEEH
                                         UNITED STATES DISTRICT JUDGE
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                             CERTIFICATE OF SERVICE

              Copies of this Order were served upon attorneys of record on
                   July 12, 2007, by electronic and/or ordinary mail.

                                 s/Josephine Chaffee
                                     Deputy Clerk




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